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                        UNITED STATES COURT OF APPEALS                       FILED
                               FOR THE NINTH CIRCUIT                          NOV 19 2020
                                                                         MOLLY C. DWYER, CLERK
                                                                           U.S. COURT OF APPEALS
VIRGIL ARMSTRONG,                                  No.    20-35583

                    Plaintiff-Appellee,            D.C. No. 2:18-cv-00845-JCC
                                                   Western District of Washington,
  v.                                               Seattle

CARL WHALEN, a Snohomish County                    ORDER
Sheriff's Deputy, in his individual capacity,
and the marital community comprised
thereof; et al.,

                    Defendants-Appellants.

         Appellants’ motion (Docket Entry No. 16) for voluntary dismissal is

granted. This appeal is dismissed. See Fed. R. App. P. 42(b).

         This order served on the district court shall act as and for the mandate of this

court.

                                                    FOR THE COURT:

                                                    MOLLY C. DWYER
                                                    CLERK OF COURT


                                                    By: Linda K. King
                                                    Deputy Clerk
                                                    Ninth Circuit Rule 27-7




LK20-50298/Pro Mo
